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     FILED
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   March 1, 2022
  KAREN MITCHELL
CLERK, U.S. DISTRICT    United States Court of Appeals
      COURT
                             for the Fifth Circuit                               United States Court of Appeals
                                                                                          Fifth Circuit

                                                                                        FILED
                                                                                 February 28, 2022
                                              No. 22-10077
                                                                                   Lyle W. Cayce
                                                                                        Clerk
              U.S. Navy Seals 1-26; U.S. Navy Special Warfare
              Combatant Craft Crewmen 1-5; U.S. Navy Explosive
              Ordnance Disposal Technician 1; U.S. Navy Divers 1-3,

                                                                     Plaintiffs—Appellees,

                                                  versus

              Joseph R. Biden, Jr., in his official capacity as
              President of the United States of America; Lloyd
              Austin, Secretary, U.S. Department of Defense,
              individually and in his official capacity as United
              States Secretary of Defense; United States
              Department of Defense; Carlos Del Toro, individually
              and in his official capacity as United States Secretary
              of the Navy,

                                                                  Defendants—Appellants.


                               Appeal from the United States District Court
                                   for the Northern District of Texas
                                        USDC No. 4:21-CV-1236 -O


              Before Jones, Duncan, and Engelhardt, Circuit Judges.
              Per Curiam:
                       The district court preliminarily enjoined the Department of Defense
              (“DoD”), United States Secretary of Defense Lloyd Austin, and United
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    States Secretary of the Navy Carlos Del Toro from enforcing certain
    COVID-19 vaccination requirements against 35 Navy special warfare
    personnel and prohibited any adverse actions based on their religious
    accommodation requests. 1            It later declined to stay the injunction.
    Defendants now seek a partial stay pending appeal insofar as the injunction
    precludes them from considering Plaintiffs’ vaccination statuses “in making
    deployment, assignment and other operational decisions.” The Navy has
    granted hundreds of medical exemptions from vaccination requirements,
    allowing those service members to seek medical waivers and become
    deployable. But it has not accommodated any religious objection to any
    vaccine in seven years, preventing those seeking such accommodations from
    even being considered for medical waivers. We DENY Defendants’ motion.

                                    I. Background
                                                A.
            President Biden “direct[ed] the [DoD] to look into how and when
    they [would] add COVID-19 vaccination to the list of required vaccinations
    for members of the military.” Thereafter, the DoD and the Navy issued a
    serious of orders and directives implementing mandatory COVID-19 vaccine
    requirements.
            Pertinent to this case, Secretary Del Toro issued “ALNAV 062/21,”
    which ordered all “active duty Service Members . . . to be fully vaccinated
    within 90 days” and “all Reserve Component Service Members . . . to be
    fully vaccinated within 120 days.” Secretary Del Toro’s order “exempted


            1
              At least two other district courts have recently enjoined the same, or similar,
    polices with respect to other service members. See Air Force Officer v. Austin, ___ F. Supp.
    3d ____, No. 5:22-cv-00009-TES, 2022 WL 468799 (M.D. Ga. Feb. 15, 2022); Seal v.
    Biden, No. 8:21-cv-2429-sdm-tgw, 2022 WL 520829 (M.D. Fla. Feb. 18, 2022). Two other
    courts found similar challenges non-justiciable. See Church v. Biden, No. 21-2815 (CKK),
    2021 WL 5179215 (D.D.C. Nov. 8, 2021); Robert v. Austin, No. 21-cv-02228-RM-STV,
    2022 WL 103374 (D. Colo. Jan. 11, 2022).




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    from mandatory vaccination” service members “actively participating in
    COVID-19 clinical trials.” His order warned that “failure to comply is
    punishable as a violation of a lawful order” and “may result in punitive or
    adverse administrative action or both.” It also authorized the Chief of Naval
    Operations and Commandant of the Marine Corps “to exercise the full range
    of administrative and disciplinary actions to hold non-exempt Service
    Members appropriately accountable.” Such actions “include, but [are] not
    limited to, removal of qualification for advancement, promotions,
    reenlistment, or continuation, consistent with existing regulations, or
    otherwise considering vaccination status in personnel actions as
    appropriate.”
             The next day, consistent with Secretary Del Toro’s order, the Navy
    issued    “NAVADMIN         190/21,”       which   “provides   guidance”   on
    implementing the vaccine mandate within the Navy. NAVADMIN 190/21
    states that “COVID-19 vaccination is mandatory for all DoD service
    members who are not medically or administratively exempt.” Religious
    accommodations fall under administrative exemptions. Again, “service
    members who are actively participating in COVID-19 clinical trials are
    exempt from mandatory vaccination against COVID-19.” NAVADMIN
    190/21 also specifies that the “COVID Consolidated Disposition Authority
    (CCDA)” will determine “ultimate disposition” of Navy service members
    who remain unvaccinated. The CCDA “serve[s] as the central authority for
    adjudication and will have at his or her disposal the full range of
    administrative and disciplinary actions.”
             The Navy, moreover, mandated FDA-approved COVID-19
    vaccinations under its Manual of the Medical Department (“MANMED”).
    MANMED § 15-105, covering special operations service members, provides:
    “[special operations] designated personnel refusing to receive recommended
    vaccines . . . based solely on personal or religious beliefs are disqualified.



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    This provision does not pertain to medical contraindications or allergies to
    vaccine administration.” Service members who are “disqualified” under the
    MANMED have been rendered “non-deployable.”
          The Commander of Naval Special Warfare Command later issued
    “Trident Order #12.” The order set a deadline of October 17, 2021, for
    unvaccinated service members to receive their first jab or submit an
    exemption request. And it provides that “exemptions for medical and/or
    administrative (including religious) reasons will be adjudicated via service
    policies.” Further, “special operations designated personnel (SEAL and
    SWCC) refusing to receive recommended vaccines based solely on personal
    or religious beliefs will still be medically disqualified.” But, like MANMED
    § 15-105(3)(n)(9), Trident Order #12 “does not pertain to medical
    contraindications or allergies to vaccine administration.” Any “waiver from
    medical requirements for special operations qualification requires a separate
    waiver that is in addition to waiver of the COVID-19 vaccine requirement for
    all service members.”
           The Navy subsequently issued “NAVADMIN 225/21,” designating
    the Chief of Naval Personnel as the CCDA and providing procedural
    guidance for administrative disposition of unvaccinated Navy service
    members. NAVADMIN 225/21 mandates “administrative separation” of
    all “Navy service members refusing the COVID-19 vaccination, absent a
    pending or approved exemption.” It also authorizes commanding officers to
    “to temporarily reassign Navy service members who refuse the COVID-19
    vaccine, regardless of exemption status, based on operational readiness or
    mission requirements.” In addition, “Commands shall not allow those
    refusing the vaccine to promote/advance, reenlist, or execute orders, with
    the exception of separation orders, until the CCDA has completed
    disposition of their case.” Commanders “shall delay the promotion of any
    officer” and “withhold the advancement of any enlisted member” who



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    refuses the vaccine. Service members separated for refusing the vaccine
    “will not be eligible for involuntary separation pay and will be subject to
    recoupment of any unearned special or incentive pays.” The CCDA may
    also “seek recoupment of applicable bonuses, special and incentive pays, and
    the cost of training and education for service members refusing the vaccine.”
           The Navy finally issued “NAVADMIN 256/21” to specify that
    “service members with approved or pending COVID-19 vaccination
    exemption requests shall not be processed for separation or be subject
    to . . . other administrative actions . . . due solely to their lack of COVID-19
    vaccination.”   Unvaccinated service members, however, “regardless of
    exemption status, may be temporarily reassigned . . . based on operational
    readiness and mission requirements.” NAVADMIN 256/21 further requires
    service members whose COVID-19 vaccination exemption requests are
    denied to receive the vaccine within five days of the denial, or else they “will
    be processed for separation and be subject to . . . other administrative
    actions.”

                                          B.
           Plaintiffs are 35 Navy service members assigned to Naval Special
    Warfare Command units. They comprise over two dozen SEALs, plus
    Special Warfare Combatant Craft Crewmen (SWCC), an Ordnance Disposal
    Technician (EOD), and three Divers (collectively, “Plaintiffs”).             In
    November 2021, they sued President Biden, Secretary Austin, Secretary Del
    Toro, and the DoD (collectively, “Defendants”), challenging the Navy’s
    COVID-19 vaccine policies, on their face and as applied, under the Religious




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    Freedom Restoration Act of 1993, 42 U.S.C. §§ 2000bb et seq., and the free
    exercise clause of the First Amendment. 2
            Shortly thereafter, Plaintiffs moved for a preliminary injunction. The
    district court held a hearing at which Plaintiffs presented live testimony and
    other evidence. We describe in detail the relevant evidence in the record and
    the district court’s factual findings.

                                                  i.
            As of November 2021, 99.4% of active-duty Navy service members
    had been fully vaccinated against COVID-19. Before and after vaccines
    became available, several Plaintiffs deployed overseas and completed
    missions, while others served as instructors in training commands.
    Operations continued without issue, as many Plaintiffs practiced mitigation
    techniques—social distancing, testing, quarantining, etc.                      Defendants
    identify no instance where a Plaintiff’s vaccination status—or any service
    member’s vaccination status—compromised a special warfare mission.
            The Navy follows a six-phase, 50-step process to adjudicate religious
    accommodation requests. 3 During the first 13 steps, staff members verify the
    required documents submitted with the request. At steps 14 and 15, staff
    members add the requesting service member’s personal information to a
    “disapproval template” form. There apparently is no approval template. At



            2
              Plaintiffs initially brought their claims against Secretaries Austin and Del Toro in
    both their individual and official capacities. And they also asserted claims under the
    Administrative Procedure Act (“APA”), 5 U.S.C. §§ 701-06. They have, however, since
    filed an amended complaint against the remaining individual Defendants in their official
    capacities alone without bringing any APA claims. President Biden is not named in the
    amended complaint.
            3
              See Deputy Chief of Naval Operations Standard Operating Procedure for
    Religious Accommodations (dated Nov. 2021).




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    step 33, staff members transmit an internal memorandum to Vice Admiral
    John B. Nowell, requesting that he “sign . . . letters disapproving
    immunization waiver requests based on sincerely held religious beliefs.” At
    steps 35 to 38, staff members review the accommodation request and list
    details in a spreadsheet with other requests for Vice Admiral Nowell to
    review. But by then, the disapproval is fully teed-up: the disapproval letter
    has been written; the disapproval and religious accommodation request has
    been packaged with similar requests, and the internal memorandum to Vice
    Admiral Nowell requesting disapproval has been drafted.
          In December 2021, the Navy reported receiving 2,844 requests for
    religious accommodations. A more recent report suggests that more than
    4,000 active duty and Navy Reserve sailors have submitted such requests.
    The Navy has denied them all. Indeed, during the last seven years, the Navy
    has not granted a single religious exemption from any vaccination. Yet, with
    respect to the COVID-19 vaccine, it has approved at least “10 permanent
    medical exemptions, 259 temporary medical exemptions, and 59
    administrative exemptions for active duty sailors, along with seven
    temporary medical exemptions and 24 administrative exemptions for Navy
    Reserve sailors.” At least 17 of the 259 temporary medical exemptions were
    granted to service members assigned to Naval Special Warfare.

                                         ii.
          Plaintiffs represent various Christian denominations within the
    Catholic, Eastern Orthodox, and Protestant Churches. They “each object to




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    receiving a COVID-19 vaccination based on their sincerely held religious
    beliefs.” 4
            Plaintiffs each filed a request for a religious accommodation, which
    describes his or her sincere religious beliefs and the substantial burden placed
    on them by the Navy’s vaccine mandate. Many are supported by chaplains’
    memoranda confirming the basis and sincerity of Plaintiffs’ beliefs and
    positions with respect to the COVID-19 vaccine.
            For purposes of this litigation, Plaintiffs also filed declarations,
    confirming their religious beliefs and emphasizing that they do not object to
    undertaking COVID-19 mitigation measures such as masking, social
    distancing, and regular testing. and their experiences during the
    accommodation-request process.
            The declarations also describe their experiences during the religious
    accommodation process. Various commanders told several Plaintiffs that
    they risked losing their special warfare device, the SEAL Trident, if they
    requested a religious accommodation. Many were also declared “medically
    disqualified,” or “non-deployable,” simply as a result of submitting their
    requests. Many Plaintiffs have also become ineligible for travel, transfer to
    other posts including trainings, and advancement in leadership simply
    because       they    are     unvaccinated        and     have      requested       religious
    accommodations. For example, U.S. Navy SEAL 13 was removed from his
    leadership position, setting him back at least two years in progressing to the
    next rank. And U.S. Navy Special Warfare Combatant Craft Crewman 1 was
    denied training and told by a commander that “the Navy does not want to



            4
              Their objections include, inter alia, the vaccines’ ties to aborted fetal cell lines,
    divine instruction not to receive the vaccine, and the mRNA vaccines’ altering the divine
    creation of their body by unnaturally inducing production of spike proteins.




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    spend additional money training someone it is going to lose.” Plaintiffs
    suggest that if the Navy discharges them and seeks recoupment of their
    training and education costs, those expenses could exceed one million dollars
    each.
            Plaintiffs claim their accommodation requests are futile because
    denial is a predetermined outcome. U.S. Navy SEAL 2’s chain of command
    advised him that “all religious accommodation requests will be denied,”
    because “senior leadership . . . has no patience or tolerance for service
    members who refuse COVID-19 vaccination for religious reasons and want
    them out of the SEAL community,” and that “even if a legal challenge is
    somehow successful, the senior leadership of Naval Special Warfare will
    remove [his] special warfare designation.” U.S. Navy SEAL 5 averred that
    “[n]umerous comments from [his] chain of command indicate[d] . . . that
    there [would] be a blanket denial of all religious accommodation requests
    regarding COVID-19 vaccination.” US Navy SEAL 8 averred that his
    “chain of command . . . made it clear that [his] request [would] not be
    approved and . . . provided [him] with information on how to prepared for
    separation from the U.S. Navy.” U.S. Navy SEAL 11 declared that during a
    chief’s meeting, his command master chief told him that “anyone not
    receiving the COVID-19 vaccine is an ‘acceptable loss’ to the Naval Special
    Warfare (NSW) community” and the “legal department used language such
    as ‘when they get denied,’ not ‘if they get denied.’”

                                          iii.
            Three Plaintiffs testified at the preliminary injunction hearing. First,
    U.S. Navy SEAL 3 is stationed as an instructor for a medical training course
    in Mississippi. His missions and duties have been accomplished successfully
    since 2020 notwithstanding COVID-19. His chaplain supported his request
    for religious accommodation, and his commanding officer recommended




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     approval. In doing so, his commanding officer explained that “[t]he training
     environment [of the command] often requires close quarters contact for
     prolonged periods of time, however, successful mitigation measures have
     been implemented since the onset of COVID-19 to ensure the safety of the
     staff and students.”     Further, “[t]he cumulative impact of repeated
     accommodations of religious practices of a similar nature would mean my
     command is still able to safely accomplish its mission and protect the health
     and safety of its members”(emphasis added). While his request was pending,
     U.S. Navy SEAL 3 was removed from his duty as an instructor to prepare for
     separation.
            As U.S. Navy SEAL 3’s request moved up the chain of command, the
     Commander of Naval Special Warfare recommended disapproval without
     explanation.   The Deputy Chief of Naval Operations then formally
     disapproved his request. He explained in generic terms that U.S. Navy SEAL
     3 would “inevitably be expected to live and work in close proximity with [his]
     shipmates,” and disapproval was “the least restrictive means available to
     preserve the [DoD’s] compelling interest in military readiness, mission
     accomplishment and the health and safety of military Service Members.”
     The disapproval offered no explanation specific to U.S. Navy SEAL 3’s
     request.
            Second, U.S. Navy SEAL 2 is also stationed as an instructor for a
     special operations tactical program in Mississippi. He explained that teams
     around the country have deployed and were “able to successfully accomplish
     their mission on those deployments through other mitigation tactics with
     respect to COVID-19 before the vaccine.”          And his specific training
     command has successfully accomplished its missions notwithstanding
     COVID-19.




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            U.S. Navy SEAL 2’s chaplain and two Catholic bishops supported his
     accommodation request.       His commanding officer also recommended
     approval, for the same reasons stated in U.S. Navy SEAL 3’s recommended
     approval. But the Commander of Naval Special Warfare recommended
     disapproval without explanation—as he did for U.S. Navy SEAL 3. The
     Deputy Chief of Naval Operations subsequently disapproved U.S. Navy
     SEAL 2’s request using the same boilerplate disapproval form with no
     information specific to his request. U.S. Navy SEAL 2 testified that he had
     “seen a number of these denial letters” and “[e]very one of them [he has]
     seen [is] identical.” His appeal remains pending.
            U.S. Navy SEAL 2 testified to adverse actions taken against
     unvaccinated service members requesting religious accommodations. He
     explained that “personnel from different commands have been relieved of
     their milestone positions that, you know, essentially railroad their careers.”
     Further, service members “have been pulled from their commands,” which
     can set their careers back two or three years, and “been made to do menial
     labor tasks, cleaners, sweeping clean grounds, in a temporary assigned duty
     from their actual parent command.”
            Third, U.S. Navy EOD Technician 1 testified that he deployed to
     South Korea in support of a special operations command in early 2020 during
     a significant COVID-19 outbreak. His team completed 76 joint service
     engagements with 21 different U.S. and Korean partner forces, all while
     maintaining effective COVID-19 mitigation tactics in compliance with CDC
     guidelines. He even received a deployment joint service accommodation
     medal from the special operations command in Korea for COVID-19
     mitigation.
            U.S. Navy EOD Technician 1 met with his superiors to discuss his
     religious accommodation request and his commanding officer’s position,




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     which was to deny it. They told him that if he received an accommodation,
     “they probably could not find a place for [him] within the community as a
     senior enlisted member.” He believes he “was being coerced into receiving
     the vaccine.” They asked, “with [his] religious beliefs, if [he] thought that
     martyrs would be remembered.”
            The Commanding Officer of the Naval School EOD recommended
     disapproval of U.S. Navy EOD Technician 1’s request, explaining that his
     “reluctance to obtain vaccination has the potential to create total force health
     ramifications” due to his “close quarters, hands-on training that cannot be
     mitigated with COVID-19 protocols.” Without a fully vaccinated staff and
     student population, the recommendation explained, the unit “risk[ed] not
     being able to fully execute its mission.”               The Deputy Chief of Naval
     Operations subsequently disapproved the accommodation request on the
     same boilerplate form used to disapprove the requests of U.S. Navy SEALs
     2 and 3.

                                                  iv.
            Following the hearing, the district court preliminarily enjoined
     Secretary Austin, Secretary Del Toro, and the DoD from “applying
     MANMED § 15-105(3)(n)(9); NAVADMIN 225/21; Trident Order #12;
     and NAVADMIN 256/21 to Plaintiffs.” 5 U.S. Navy Seals 1–26 v. Biden, No.
     4:21-cv-01236-O, 2022 WL 34443, *14 (N.D. Tex. Jan. 3, 2022) (O’Connor,
     J.). It further enjoined those Defendants “from taking any adverse action
     against Plaintiffs on the basis of Plaintiffs’ requests for religious
     accommodation.” Id. The court excused Plaintiffs’ failure to exhaust
     military remedies as futile, finding the Navy’s religious accommodation
     process is “an empty formality” because “the denial of each request is


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                The district court also dismissed President Biden from the suit.




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     predetermined.” Id. at *4; see also id. at *1 (describing process as “theater”
     and finding the Navy “rubber stamps each denial”); id. at *5 (“[T]he
     Plaintiffs’ requests are denied the moment they begin.”). As to Plaintiffs’
     likelihood of success on their RFRA claims, 6 the court found that Defendants
     could not show a compelling interest in vaccinating Plaintiffs because the
     religious accommodation process lacks “individualized assessment” and is
     underinclusive, “includ[ing] carveouts for those participating in clinical
     trials and those with medical contraindications and allergies to vaccines,” but
     not those with religious objections. Id. at *10. Defendants filed a timely
     interlocutory appeal.
            After the preliminary injunction took effect, the Navy formally denied
     U.S. Navy SEAL 16’s appeal of his initially rejected religious accommodation
     request. The denial appears to be a boilerplate letter, mentioning nothing
     specific about SEAL 16’s request. Plaintiffs submit that “SEAL 24 has yet
     to receive his denial, but his command informed him that his appeal was
     denied on February 11.”

                                               v.
            Defendants moved the district court to stay the preliminary injunction
     “to the extent the order precludes Defendants from making the assignment
     and reassignment decisions that the military deems appropriate, taking into
     account Plaintiffs’ vaccination status, including with respect to deployment
     and training.” The court denied the motion, but it clarified that the
     preliminary injunction:




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                The district court also concluded that the Defendants’ actions violated the
     Plaintiffs’ First Amendment right to free exercise of religion. We need not review that
     portion of the district court’s ruling.




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             [does] not require[] Defendants to make any particular
             personnel assignments. All strategic decisions remain in the
             hands of the Navy. Rather, the preliminary injunction simply
             prohibits adverse action against Plaintiffs based on their
             requests for religious accommodation. This Court will not—
             and cannot—require the Navy to place a particular SEAL in a
             particular training program. But it can—and must—prevent
             the Navy from taking punitive action against that SEAL by
             blocking him from the training program he would otherwise
             attend.
             Defendants subsequently moved this court to partially stay the
     preliminary injunction pending appeal “insofar as it precludes the Navy from
     considering plaintiffs’ vaccination status in making deployment, assignment,
     and other operational decisions.” 7 They maintain that “[f]orcing the Navy
     to deploy plaintiffs while they are unvaccinated threatens the success of
     critical missions and needlessly endangers the health and safety of other
     service members.”

                                     II. Discussion
             “Before addressing the merits, we must be sure that this is a justiciable
     case or controversy under Article III.” Holder v. Humanitarian Law Project,
     561 U.S. 1, 15, 130 S. Ct. 2705, 2717 (2010). If it is not, our inquiry will end.
     If it is, then we must consider whether Defendants have satisfied the four
     factors required to grant a stay pending appeal. See Nken v. Holder, 556 U.S.
     418, 426, 129 S. Ct. 1749, 1756 (2009) (quoting Hilton v. Braunskill, 481 U.S.


             7
              While the interlocutory appeal and emergency motion have been pending in this
     court, proceedings in the district court continue. Plaintiffs sought class certification and
     moved for a class-wide preliminary injunction. They also sought a show cause order,
     arguing that “Defendants are disregarding and willfully violating [the preliminary
     injunction] by continuing to apply the same policies and continuing to impose the same
     injuries on Plaintiffs that initially warranted injunctive relief[.]” Defendants have
     meanwhile moved to dismiss or, alternatively, transfer venue.




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     770, 776, 107 S. Ct. 2113, 2119 (1987)). This dispute is justiciable. But
     Defendants have not carried their burden to warrant the issuance of a stay.

                                          A.
            Congress rendered justiciable Plaintiffs’ claims under RFRA, which
     applies to every “branch, department, agency, instrumentality, and official
     (or other person acting under color of law) of the United States[.]”
     42 U.S.C. § 2000bb-2(1). RFRA, in turn, sets the standards binding every
     department of the United States to recognize and accommodate sincerely
     held religious beliefs. It undoubtedly “applies in the military context.”
     United States v. Sterling, 75 M.J. 407, 410 (C.A.A.F. 2016), cert. denied,
     137 S. Ct. 2212 (2017).     This makes sense because service members
     “experience increased needs for religion as the result of being uprooted from
     their home environments, transported often thousands of miles to territories
     entirely strange to them, and confronted there with new stresses that would
     not otherwise have been encountered if they had remained at home.” Katcoff
     v. Marsh, 755 F.2d 223, 227 (2nd Cir. 1985). Federal courts are therefore
     empowered to adjudicate RFRA’s application to these Plaintiffs.
            Notwithstanding RFRA’s broad scope, the district court below, as
     well as other courts, have believed themselves bound by a judicial abstention
     doctrine created in Mindes v. Seaman, 453 F.2d 197 (5th Cir. 1971). In that
     case, the court sought to identify situations in which federal courts, faced
     with claims implicating internal military affairs, must withhold adjudication
     in favor of military decision-making. Mindes abstention is rooted in the
     federal common law principle of “comity.” Mindes, 453 F.2d at 199. But it
     is likely that, following RFRA’s enactment, abstention based on the Mindes




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     test is no longer permissible. 8 RFRA “operates as a kind of super statute,
     displacing the normal operation of other federal laws[.]” Bostock v. Clayton
     County, 140 S. Ct. 1731, 1754 (2020). It would not be a stretch to conclude
     that RFRA must also displace a judge-created abstention doctrine. “[W]hen
     Congress addresses a question previously governed by a decision rested on
     federal common law the need for such an unusual exercise of lawmaking by
     federal courts disappears.” City of Milwaukee v. Illinois, 451 U.S. 304, 314,
     101 S. Ct. 1784, 1791 (1981).
             In an abundance of caution and deferring to circuit precedent,
     however, we consider whether Mindes abstention ought to apply here.
     Mindes requires courts to “examine the substance of [a plaintiff’s] allegation
     [implicating internal military affairs] in light of the policy reasons behind
     nonreview of military matters.” 9 453 F.2d at 201. In doing so, courts must
     first determine whether “[t]he plaintiff has alleged a deprivation of
     constitutional rights or that the military violated statutes or its own
     regulations[.]” Meister v. Tex. Adjutant Gen.’s Dep’t, 233 F.3d 332, 339 (5th
     Cir. 2000) (citing Mindes, 453 F.2d at 201). Courts must next assess whether
     the plaintiff has exhausted all available intra-service corrective measures.
     Mindes, 453 F.2d at 201. If the plaintiff satisfies both criteria, then the court
     considers a series of factors, which amount to a synopsis of pre-Mendes case


             8
               A respected treatise disagrees with Mindes on other grounds, stating that “[t]here
     is nothing in the power of Congress to make rules for the government and regulation of the
     land and naval forces, nor in the powers of the President as commander in chief, that ousts
     the power of courts to protect the constitutional rights of individuals against improper
     military actions.” 13C Charles Alan Wright & Arthur R. Miller, Federal
     Practice and Procedure § 2942 n.80 (3d ed. Apr. 2021 update).
             9
               Among a number of reasons for imposing an exhaustion requirement, the court
     stated that “the greatest reluctance to accord judicial review [of internal military affairs]
     has stemmed from the proper concern that such review might stultify the military in the
     performance of its vital mission.” Id. at 199.




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     law that had adjudicated claims arising from military service: (1) “[t]he
     nature and strength of the plaintiff’s challenge to the military
     determination[;]” (2) “[t]he potential injury to the plaintiff if review is
     refused[;]” (3) “[t]he type and degree of anticipated interference with the
     military function[;]” and (4) “[t]he extent to which the exercise of military
     expertise or discretion is involved.” Id. at 201-02.

                                               i.
            Plaintiffs satisfy the first threshold Mendes inquiry because they allege
     constitutional violations of the First Amendment and RFRA, which “secures
     Congress’ view of the right to free exercise under the First Amendment[.]”
     Tanzin v. Tanvir, 141 S. Ct. 486, 489 (2020).
            With respect to the second inquiry, this court has held that “[i]n the
     military context, the exhaustion requirement promotes the efficient
     operation of the military’s judicial and administrative systems, allowing the
     military an opportunity to fully exercise its own expertise and discretion prior
     to any civilian court review.” Von Hoffburg v. Alexander, 615 F.2d 633, 637-
     38 (5th Cir. 1980) (citing Hodges v. Callaway, 499 F.2d 417 (5th Cir. 1974)).
     Nonetheless, exhaustion is unnecessary if, inter alia, the administrative
     remedy is futile and plaintiffs raise substantial constitutional claims. Id. at
     638 (citations omitted).
            Plaintiffs are exempted from exhausting their administrative remedies
     for both of these reasons. 10 The Navy has not accommodated any religious
     request to abstain from any vaccination in seven years, and to date it has
     denied all religiously based claims for exemption from COVID-19


            10
              The two Plaintiffs whose appeals have been finally adjudicated require no such
     exemption, so this analysis only pertains to the 33 who have not received any final
     determinations.




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     vaccination. It is true that futility is not a function of the likely ultimate
     success of administrative exhaustion. But evidence, recited previously and
     not meaningfully challenged here, suggests that the Navy has effectively
     stacked the deck against even those exemptions supported by Plaintiffs’
     immediate commanding officers and military chaplains. This is sufficiently
     probative of futility. 11 Further, as explained more fully below, Plaintiffs raise
     substantial, legally clear-cut questions under RFRA. Courts are specifically
     equipped to address RFRA claims and, by the same token, the issues are less
     suitable for administrative adjudication. Plaintiffs have thus satisfied the
     threshold criteria required by Mindes. But a final justiciability determination
     depends on considering the four additional Mindes points.

                                                  ii.
             The district court determined that each of the four additional Mindes
     considerations favors justiciability. We agree.
             The constitutional underpinnings and merit of Plaintiffs’ claims weigh
     in favor of granting judicial review. Constitutional claims are “normally
     more important than those having only a statutory or regulatory base[.]”
     Mindes, 453 F.2d at 201. Indeed, this court has favorably cited the Ninth
     Circuit’s determination that “[r]esolving a claim founded solely upon a
     constitutional right is singularly suited to a judicial forum and clearly
     inappropriate to an administrative board.” Downen v. Warner, 481 F.2d 642,
     643 (9th Cir. 1973); see Von Hoffburg, 615 F.2d at 638 (citing Downen,


             11
               Unlike in this case, the Marines in Church v. Biden “advanced no argument or
     evidence demonstrating that obtaining review of any future discipline or removal pursuant
     to ordinary military review procedures would be futile or inadequate.” 2021 WL 5179215,
     at *11. Similarly, the court in Robert v. Austin, found that “Plaintiffs’ contention that they
     may be subject to discipline for refusing to take a vaccine appear[ed] to be based on nothing
     more than speculation.” 2022 WL 103374, at *3. Plaintiffs here have done the exact
     opposite.




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     481 F.2d at 643). This is especially so when a plaintiff’s claims are “founded
     on infringement of specific constitutional rights[.]” NeSmith v. Fulton,
     615 F.2d 196, 201-02 (5th Cir. 1980) (citations omitted). Plaintiffs allege
     specific, and far from frivolous, violations of their free exercise rights under
     both the First Amendment and RFRA. Thus, the nature and strength of
     Plaintiffs’ claims weigh in favor of judicial resolution.
             Plaintiffs also face irreparable harm if judicial review is denied. “In
     general, a harm is irreparable where there is no adequate remedy at law, such
     as monetary damages.” Janvey v. Alguire, 647 F.3d 585, 600 (5th Cir. 2011)
     (citation omitted). “The loss of First Amendment freedoms, for even
     minimal periods of time unquestionably constitutes irreparable injury.”
     Opulent Life Church v. City of Holly Springs Miss., 697 F.3d 279, 295 (5th Cir.
     2012) (quoting Elrod v. Burns, 427 U.S. 347, 373, 96 S. Ct. 2673, 2690 (1976)
     (plurality opinion)). “This principle applies with equal force to the violation
     of [RFRA] rights because [RFRA] enforces First Amendment freedoms, and
     the statute requires courts to construe it broadly to protect religious
     exercise.” 12 Id. (citations omitted). At base, Plaintiffs are staring down even
     more than “a choice between their job(s) and their jab(s).” BST Holdings,
     L.L.C. v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021).                       By pitting their
     consciences against their livelihoods, the vaccine requirements would crush
     Plaintiffs’ free exercise of religion.




             12
                 Opulent Life Church involved claims under Religious Land Use and
     Institutionalized Persons Act (RLUIPA), 42 U.S.C. §§ 2000cc, et seq., but “[b]oth RFRA
     and RLUIPA impose essentially the same requirements as Sherbert [v. Verner, 374 U.S. 398,
     83 S. Ct. 1790 (1963)]” Fulton v. City of Phila., 141 S. Ct. 1868, 1922 (2021) (Barrett, J.,
     concurring); see also Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 695, 134 S. Ct. 2751,
     2761 (2014) (citation omitted) (RLUIPA “imposes the same general test as RFRA but on
     a more limited category of governmental actions.”).




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             The most problematic of the Mindes considerations is whether judicial
     review of Plaintiffs’ claims would seriously impede the Navy’s performance
     of its vital duties. Because “there will always be some interference when
     review is granted,” courts ought to abstain only where “the interference
     would be such as to seriously impede the military in the performance of vital
     duties[.]” Mindes, 453 F.2d at 201. We are aware of the Navy’s general
     objection that federal court resolution of these claims “cause[s] direct and
     immediate impact to mission execution.” 13 But the Navy acknowledges that
     it has granted hundreds of medical exemptions from the COVID-19 vaccine,
     at least 17 of which were temporary medical exemptions for those in Naval
     Special Warfare. 14 Only 35 Plaintiffs seek religious accommodations here.
     And “5,035 active component and 2,960 Ready Reserve sailors” remained
     unvaccinated as of January 27, 2022. It is therefore “illogical . . . that
     Plaintiff[s’] religious-based refusal to take a COVID-19 vaccine would
     ‘seriously impede’ military function when the [Navy] has [over 5,000]
     service members still on duty who are just as unvaccinated as [the
     Plaintiffs].” 15 Air Force Officer, 2022 WL 468799, at *7. In fact, Vice Admiral



             13
               The commanding officer of two Plaintiffs, however, averred that “the
     cumulative impact of repeated accommodations of religious practices . . . would mean [his]
     command is still able to safely accomplish its mission and protect the health and safety of
     its members.”
             14
               The Navy’s willingness to grant hundreds of medical exemptions undermines its
     reliance on decisions like Goldman v. Weinberger, 475 U.S. 503, 106 S. Ct. 1310 (1986),
     abrogated by 10 U.S.C. § 774(a)-(b). The Goldman court held that “the First Amendment
     does not require the military to accommodate [wearing a yarmulke] in the face of its view
     that they would detract from the uniformity sought by the dress regulations.” Id. at
     475 U.S. at 509-10, 106 S. Ct. at 1314. The Navy is currently 99.4% uniform in its COVID-
     19 vaccination status. To the extent that the remaining 0.6% are not uniform, the
     exemptions granted by the Navy belie its insistence on uniformity in this case.
             15
               The Navy had formally discharged 45 sailors for refusing the COVID-19 vaccine
     as of January 27, 2022.




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     William Merz recently observed that during operations conducted with fully
     vaccinated personnel, the Omicron variant in particular is “coming and going
     all the time, [in] very small numbers, and [with] really no operational
     impact[.]” 16 Significantly, the Navy recently aligned its testing and isolation
     guidelines with updated, looser CDC protocols, which recommend isolation
     for those who test positive only “for five days or until symptoms have
     cleared, depending on which is longer.” Such individuals then only have to
     “wear a mask for an additional five days.” Thus, “Navy teams are [] very,
     very attuned to watching their indications and reacting to [the virus].” 17
             Finally, the extent to which military expertise or discretion is involved
     does not militate against judicial review. “Courts should defer to the
     superior knowledge and experience of professionals in matters such as
     promotions or orders directly related to specific military functions.” Mindes,
     453 F.2d at 201-02. To be sure, “[t]he complex, subtle, and professional
     decisions as to the composition, training, equipping, and control of a military
     force are essentially professional military judgments[.]” Gilligan v. Morgan,
     413 U.S. 1, 10, 93 S. Ct. 2440, 2446 (1973) The Navy may permissibly
     classify any number of Plaintiffs as deployable or non-deployable for a wide
     variety of reasons. But if the Navy’s plan is to ignore RFRA’s protections,
     as it seems to be on the record before us, courts must intervene because




             16
               Defendants insist that this quotation is taken out of context. But the “context”
     they emphasize is based on the article’s summary of Admiral Merz’s sentiments, not the
     words of Admiral Merz himself. We rely on the admiral’s quoted words.
             17
               Also noteworthy concerning the comparative efficacy of vaccination is that the
     USS Milwaukee was “sidelined” in December 2021 by a COVID-19 outbreak despite
     having a fully vaccinated crew; and over 15 members of one Plaintiff’s entirely vaccinated
     detachment contracted, or were exposed to, COVID-19 during a training exercise.




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     “[g]enerals don’t make good judges—especially when it comes to nuanced
     constitutional issues.” 18 Air Force Officer, 2022 WL 468799, at *8.
            Accordingly, even under Mindes, Plaintiffs’ claims are justiciable.
                                                    B.
            When considering whether to grant a stay pending appeal, a court
     must consider:
            o First, whether the stay applicants have made a strong
              showing that they are likely to succeed on the merits;
            o Second, whether the applicants will be irreparably harmed
              absent a stay;
            o Third, whether issuance of the stay will substantially injure
              the other parties; and
            o Fourth, where the public interest lies.
     Nken, 556 U.S. at 426, 129 S. Ct. 1756 (quoting Hilton, 481 U.S. at 776,
     107 S. Ct. at 2119). The first two factors “are the most critical.” Id. at 434.
                                                    i.
            Defendants argue that they are likely to prevail because Plaintiffs’
     claims are non-justiciable and otherwise lack merit. But we reject non-
     justiciability, and the district court painstakingly explained why, at a
     minimum, their RFRA claims are meritorious. We elaborate on the district
     court’s reasoning.
            As the Supreme Court has noted, RFRA affords even “greater
     protection for religious exercise than is available under the First
     Amendment[]” and provides that the:



            18
                 Judge Tilman E. Self III is a former Army artillery officer. Id. at *5.




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            Government may substantially burden a person’s exercise of
            religion only if it demonstrates that application of the burden
            to the person—(1) is in furtherance of a compelling
            governmental interest; and (2) is the least restrictive means of
            furthering that compelling governmental interest.
     Holt v. Hobbs, 574 U.S. 352, 357, 135 S. Ct. 853, 859-60 (2015); 42 U.S.C.
     § 2000bb-1. “[T]he ‘exercise of religion’ often involves not only belief and
     profession but the performance of (or abstention from) physical acts[.]”
     Employment Div. v. Smith, 494 U.S. 872, 877, 110 S. Ct. 1595, 1599 (1990).
     And “a government action or regulation creates a ‘substantial burden’ on a
     religious exercise if it truly pressures the adherent to significantly modify his
     religious behavior and significantly violates his religious beliefs.” Adkins v.
     Kaspar, 393 F.3d 559, 570 (5th Cir. 2004) (involving RLUIPA). Once a
     plaintiff demonstrates a substantial burden on his exercise of religion,
     “RFRA requires the Government to demonstrate that the compelling
     interest test is satisfied through application of the challenged law ‘to the
     person’—the particular claimant whose sincere exercise of religion is being
     substantially burdened.” Gonzales v. O Centro Espirita Beneficente Uniao do
     Vegetal, 546 U.S. 418, 430-431, 126 S. Ct. 1211, 1220 (2006) (quoting
     42 U.S.C. § 2000bb-1(b)). This is a “high bar.” Little Sisters of the Poor
     Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2392 (2020) (Alito,
     J., concurring). This already high bar is raised even higher “[w]here a
     regulation already provides an exception from the law for a particular
     group[.]” McAllen Grace Brethren Church v. Salazar, 764 F.3d 465, 472 (5th
     Cir. 2014) (citations omitted); see also Fulton, 141 S. Ct. at 1878-83.
            The Navy does not even dispute that its COVID-19 vaccination
     requirements substantially burden each Plaintiff’s free exercise of religion,
     but the nature of the injury bears emphasis. Plaintiffs have thoughtfully
     articulated their sincere religious objections to taking the vaccine itself.
     Accepting the vaccine would directly burden their respective faiths by forcing



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     them to inject an unremovable substance at odds with their most profound
     convictions. This injury would outlast their military service, making the
     decision whether to acquiesce far more difficult than just choosing between
     “their job(s) and their jab(s).” BST Holdings, 17 F.4th at 618. The vaccine
     requirements principally compete against their faiths and secondarily against
     their livelihoods. These circumstances impose a substantial burden on
     Plaintiffs. See Little Sisters of the Poor, 140 S. Ct. at 2391 (contraceptive
     mandate imposed a substantial burden on employers that had religious
     objections to contraceptives and believed that complying would make them
     complicit in the provision of contraceptives); see also Holt, 574 U.S. at 361,
     135 S. Ct. at 862 (RLUIPA context) (a grooming policy “substantially
     burden[ed] [a prisoner’s] religious exercise[]” where he “face[d] serious
     disciplinary action[]” for contravening that policy).
             In an attempt to subordinate Plaintiffs’ protected interest, the Navy
     focuses instead on its institutional interests. Defendants’ position is that:
             The Navy has an extraordinarily compelling interest in
             requiring that service members generally—and these plaintiffs
             in particular—be vaccinated against COVID-19, both (1) to
             reduce the risk that they become seriously ill and jeopardize the
             success of critical missions and (2) to protect the health of their
             fellow service members.
     The Navy has been extraordinarily successful in vaccinating service
     members, as at least 99.4% of whom are vaccinated. 19 But that general interest
     is nevertheless insufficient under RFRA.                  The Navy must instead
     “scrutinize[] the asserted harm of granting specific exemptions to particular
     religious claimants.” O Centro, 546 U.S., at 431, 126 S. Ct. at 1220. “The


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               As the district court explained in denying Defendants’ stay motion, statistically
     speaking, “vaccinated servicemembers are far more likely to encounter other unvaccinated
     individuals off-base among the general public than among their ranks.”




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     question, then, is not whether [the Navy has] a compelling interest in
     enforcing its [vaccination] policies generally, but whether it has such an
     interest in denying an exception to [each Plaintiff].” Fulton, 141 S. Ct. at
     1881. And RFRA “demands much more[]” than deferring to “officials’
     mere say-so that they could not accommodate [a plaintiff’s religious
     accommodation] request.” Holt, 574 U.S. at 369, 135 S. Ct. at 866 (RLUIPA
     context). That is because “only the gravest abuses, endangering paramount
     interests, give occasion for permissible limitation[]” on the free exercise of
     religion. Sherbert v. Verner, 374 U.S. 398, 406, 83 S. Ct. 1790, 1795 (1963)
     (internal quotation marks and citations omitted). 20
             Defendants have not demonstrated “paramount interests” that
     justify vaccinating these 35 Plaintiffs against COVID-19 in violation of their
     religious beliefs. They insist that “given the small units and remote locations
     in which special-operations forces typically operate, military commanders
     have determined that unvaccinated service members are at significantly
     higher risk of becoming severely ill from COVID-19 and are therefore
     medically unqualified to deploy.” But “[r]outine [Naval Special Warfare]
     mission risks include everything from gunshot wounds, blast injuries,
     parachute accidents, dive injuries, aircraft emergencies, and vehicle rollovers
     to animal bites, swimming or diving in polluted waters, and breathing toxic
     chemical fumes.” There is no evidence that the Navy has evacuated anyone
     from such missions due to COVID-19 since it instituted the vaccine mandate,
     but Plaintiffs engage in life-threatening actions that may create risks of equal
     or greater magnitude than the virus.




             20
               Sherbert, of course, formed the foundation for RFRA. See Fulton, 141 S. Ct. at
     1922 (Barrett, J., concurring).




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             More specifically, multiple Plaintiffs successfully deployed overseas
     before and after the vaccine became available, and one even received a Joint
     Service Commendation Medal for “safely navigating restricted movement
     and distancing requirements” while deployed in South Korea between
     January and June 2020. 21 Plaintiffs also trained other SEALs preparing for
     deployments at various points during the pandemic while remaining
     unvaccinated.
             The Navy’s alleged compelling interest is further undermined by
     other salient facts. It has granted temporary medical exemptions to 17 Special
     Warfare members, yet no reason is given for differentiating those service
     members from Plaintiffs.            That renders the vaccine requirements
     “underinclusive.”        Navy Seals 1–26, 2022 WL 34443, at *10.                   And
     “underinclusiveness . . . is often regarded as a telltale sign that the
     government’s interest in enacting a liberty-restraining pronouncement is not
     in fact ‘compelling.’ ” BST Holdings, 17 F.4th at 616 (citing Church of the
     Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 542-46, 113 S. Ct.
     2217, 2231-34(1993)); See also Holt, 574 U.S. at 367, 135 S. Ct. at 865
     (RLUIPA context) (a policy was substantially underinclusive where a prison
     “denied petitioner’s request to grow a 1/2-inch beard [for religious reasons]
     [while permitting] prisoners with a dermatological condition to grow 1/4-
     inch beards.”).       Moreover, in none of the letters denying religious
     accommodations to these Plaintiffs has the Navy articulated Plaintiff-specific
     reasons for its decisions. 22 Further evidencing that there is a pattern of


             21
             During this deployment, Navy EOD Technician 1 completed 76 joint service
     engagements with 21 U.S. and Korean partner forces, all while maintaining effective
     COVID-19 mitigation tactics in compliance with CDC guidelines.
             22
               On the contrary, some of the remarks uttered by superior officers to Plaintiffs
     could be regarded as outright hostile to their desire for religious accommodations. See
     Masterpiece Cakeshop, Ltd. v. Colorado Civil Rights Comm’n, 138 S. Ct. 1719, 1732 (2018).




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     disregard for RFRA rights rather than individualized consideration of
     Plaintiffs’ requests, the Navy admits it has not granted a single religious
     accommodation. Yet surely, had the Navy been conscientiously adhering to
     RFRA, it could have adopted least restrictive means to accommodate
     religious objections against forced vaccinations, for instance, to benefit
     personnel working from desks, warehouses, or remote locations.
            Considering the record as a whole, we agree with the district court that
     Defendants have not shown a compelling interest to deny religious
     accommodations to each of these 35 Plaintiffs. Indeed, the “marginal
     interest” in vaccinating each Plaintiff appears to be negligible; consequently,
     Defendants lack a sufficiently compelling interest to vaccinate Plaintiffs.
     Hobby Lobby, 573 U.S. at 727, 134 S. Ct. at 2779 (citing O Centro, 546 U.S. at
     431, 126 S. Ct.at 1220-21).
            In the absence of a compelling interest, the first Nken factor weighs
     against granting the requested partial stay.
                                           ii.
            Defendants also contend that “[b]y requiring the Navy to disregard
     plaintiffs’ unvaccinated status in making deployment, assignment, and other
     operational decisions, the preliminary injunction irreparably damages the
     Navy and the public.” We disagree.
            Despite their concerns, Defendants do not face irreparable harm in
     the absence of a stay. “[B]ecause the Government has requested a stay
     pending completion of appellate proceedings, the relevant question is
     whether the Government will be irreparably harmed during the pendency of the
     appeal.” State v. Biden, 10 F.4th 538, 559 (5th Cir. 2021) (emphasis in
     original). Defendants emphasize that the Navy “must deploy only service
     members who are at the least risk of becoming severely ill, leaving their units
     shorthanded and potentially unable to complete missions.” In any event, the




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     district court clarified that the preliminary injunction “simply prohibits
     adverse action against Plaintiffs based on their requests for religious
     accommodation.” Defendants therefore remain able to make decisions
     based on other neutral factors. And “[e]ven if [Defendants are] correct that
     long-term compliance with the district court’s injunction would cause
     irreparable harm, [they] present[] no reason to think that [they] cannot
     comply with the district court’s [injunction] while the appeal proceeds.” 23
     Biden, 10 F.4th at 559.
                                                  iii.
             Partially staying the preliminary injunction pending appeal would
     substantially harm Plaintiffs. As we noted, Plaintiffs’ First Amendment
     freedoms are seriously infringed by the Navy’s vaccine requirements. See
     BST Holdings, 17 F.4th at 618; see also Holt, 574 U.S. at 361, 135 S. Ct. at 862;
     Little Sisters of the Poor, 140 S. Ct. at 2391.                    These infringements
     “unquestionably constitute[] irreparable injur[ies].” Opulent Life Church,
     697 F.3d at 295 (quoting Elrod, 427 U.S. at 373, 96 S. Ct. at 2690). No further
     showing is necessary for Plaintiffs to demonstrate that even partially staying
     the injunction would irreparably harm them.
                                                  iv.
             The issuance of Defendants’ requested stay would also disserve the
     public interest.        Defendants contend that “[i]n cases involving the
     government, the harm to the government and the public interest merge.”


             23
                Any injury to Defendants is also “outweighed by [Plaintiffs’] strong likelihood
     of success on the merits.” Freedom From Religion Found., Inc. v. Mack, 4 F.4th 306, 316 (5th
     Cir. 2021) (collecting cases). Relatedly, if the vaccine requirements violate Plaintiffs’ First
     Amendment rights—as they have demonstrated is likely at least under RFRA—then the
     Navy’s claimed harm “is really ‘no harm at all.’” McDonald v. Longley, 4 F.4th 229, 254
     (5th Cir. 2021) (quoting Christian Legal Soc’y v. Walker, 453 F.3d 853, 867 (7th Cir. 2006)).




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     That is mistaken. Those factors merge “when the Government is the
     opposing party[,]” i.e., when the government is not the party applying for a
     stay.   Nken, 556 U.S. at 435, 129 S. Ct. 1762.        Here the government
     Defendants are applying for a stay and Plaintiffs are the opposing party. The
     public interest factor is therefore distinct.       At any rate, “injunctions
     protecting First Amendment freedoms are always in the public interest.”
     Texans for Free Enter. v. Tex. Ethics Comm’n, 732 F.3d 535, 539 (5th Cir. 2013)
     (quoting Christian Legal Soc’y, 453 F.3d at 859).
                                 III. Conclusion
             The motion by Defendants for a partial stay of the preliminary
     injunction pending appeal is DENIED.




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